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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


United States of America,                                           Criminal No. 12-243 PJS/AJB

                              Plaintiff,

v.                                                                                        ORDER

(2)    Claudia Carolina Ortiz,
(3)    Eduwiges Raquel Torres,
(4)    Humberto Alvarez-Deleon,
(5)    Crisostomo Valle-Solares,

                              Defendants.


               Richard A. Newberry, Jr., Esq., Assistant United States Attorney, for the plaintiff,
                      United States of America;
               Jean M. Brandl, Esq., for defendant Claudia Carolina Ortiz;
               Andrew S. Garvis, Esq., for defendant Eduwiges Raquel Torres;
               Terry L. Hegna, Esq., for defendant Humberto Alvarez-Deleon; and
               Lee R. Johnson, Esq., for defendant Crisostomo Valle-Solares.


               Based upon the Report and Recommendation by United States Chief Magistrate

Judge Arthur J. Boylan dated November 20, 2012, with all the files and records, and no

objections having been filed to said Recommendation, IT IS HEREBY ORDERED that:

               1. Defendant Eduwiges Raquel Torres’ Motion to Suppress Evidence Obtained as

a Result of Illegal Arrest is denied [Docket No. 40];

               2. Defendant Eduwiges Raquel Torres’ Motion to Suppress Statements,

Admissions, and Answers is denied [Docket No. 41];

               3. Defendant Crisostomo Valle-Solares’ Motion to Sever Defendants is denied

[Docket No. 58];
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              4. Defendant Crisostomo Valle-Solares’ Motion to Suppress Statements and

Evidence is denied [Docket No. 59]; and

              5. Defendant Humberto Alvarez-Deleon’s Motion for Severance is denied

[Docket No. 74].


Dated:    12/06/12


                                                 s/Patrick J. Schiltz
                                                 Patrick J. Schiltz
                                                 United States District Court Judge




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